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CLERK, U.S. DISTRICT COURT

AO 91 (Rev. II/I1) Criminal Complaint

UNITED STATES DISTRICT COURT

for the WESTERN DISTRICT OF TEXAS
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Western District of Texas DEPUTY
United States of America )
v. )
‘
DAVID AKHARUME AFENKHENA Case No. \" \\p -~w-\o Ao-
)
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of August 22, 2016 in the county of Travis in the
Western District of Texas , the defendant(s) violated:
Code Section Offense Description
Title 18 USC Section 1704 Unlawful Possession of a U. S. Postal Service Arrow Key
Title 18 USC Section 1708 Theft of U. S. Mail
This criminal complaint is based on these facts:
See Attached Affidavit incorportated herein
@ Continued on the attached sheet.
I/F (-

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wet EN _S*&
Xo Complainant Tsignature’

William B. Witt / U. S. Postal Inspector

Printed name and title

Sworn to before me and signed in my presence.

Date: 8 pes Lowe Uy

Judge's Signature

City and state: Austin, Texas Honprable Mark Lane
Printed name and title

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AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT AND ARREST
WARRANT FOR: DAVID AKHARUME AFENKHENA

I, William B. Witt, being duly sworn, hereby depose and state as follows:

01. I have been employed as a criminal investigator with the United States Postal Inspection
Service (USPIS) for the past twenty (20) years. In the course of my employment, I have led,
conducted and/or participated in hundreds of investigations involving offenses relating to the
United States Postal Service (USPS), to include: mail theft, identity theft, burglary, robbery,
homicide, narcotics trafficking; firearms trafficking; money laundering; child exploitation; and
financial fraud. I have extensive training and experience investigating these offenses;
particularly when communication facilities such as the United States Mails and private delivery
couriers (United Parcel Service (UPS), Federal Express (FedEx), etc.) are employed to facilitate
the criminal activity. I have received training by the USPIS, Federal Bureau of Investigation
(FBI), Internal Revenue Service (IRS), Department of Homeland Security (DHS), and numerous
other federal and state law enforcement agencies in the investigation of criminal organizations

engaged in financial fraud.

02. In the course of the past twenty (20) years, I have conducted hundreds of financial
investigations relating to various criminal enterprises. I have received training from the USPIS,
DEA, IRS, and Department of Justice (DOJ) in the investigation of individuals and organizations
involved in the movement and laundering of illicit criminal proceeds. Further, my undergraduate
studies included a degree in Accounting and certifications as a Certified Public Accountant
(CPA), Certified Internal Auditor (CIA), and Certified Managerial Accountant (CMA). My
experience has also included training in the areas of forensic accounting and financial auditing.
During the past twenty (20) years, I have participated in hundreds of financial investigations
which involved money laundering and currency reporting violations, specifically as they relate to

the tactics employed by organizations engaged in various unlawful activities such as drug
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trafficking, firearms trafficking, racketeering, prostitution, human trafficking, underground

banking, financial fraud, and tax evasion.

03. The facts set forth in the instant affidavit are based upon my personal observations, my
training and experience, and information that I obtained from other law enforcement officers
familiar with the investigation. Because the instant affidavit is being submitted for the sole
purpose of establishing probable cause, it does not purport to represent or set forth all of my
knowledge of, or investigation into, the instant matter. Rather, I have set forth facts that I
believe are sufficient to establish probable cause for the issuance of the requested arrest warrant.
Unless specifically indicated otherwise, all conversations and statements described are related in

substance and in part only.

04. Based on my training and experience in similar investigations, coupled with the evidence
set forth in this affidavit, I submit that there is sufficient probable cause to believe that David
Akharume Afenkhena, a Nigerian native currently residing in Austin, Texas, unlawfully
possessed an official U. S. Postal Service ‘Arrow Key’ with the intent to steal U. S. Mail,
specifically mail containing more than thirty (30) victims personal identifying information (PII);
and as such, has committed and is committing various federal violations, to include Unlawful
Possession of a U. S. Postal Service Arrow Key and Theft of U. S. Mail Matter, in violation of
Title 18 United States Code, Sections 1704 and 1708, respectively.

NATURE OF FRAUD
05. Within the U. S. Postal Service, delivery schemes are designed to allow for primarily two
(2) types of delivery service. The first involves ‘door to door’ delivery directly to a customer’s
specific mail receptacle, often affixed to the residence itself or perhaps curbside. The second
involves the delivery to a consolidated delivery point that may serve from a few customers to
more than a hundred customers at a single location. For example, a single neighborhood
delivery collection box unit (NDCBU) might service thirty (30) individual residences within a
given neighborhood. The unit is comprised of a large panel containing thirty (30) individual
mailboxes; with each owner having a key allowing access only their specific unit. In another

example, an entire apartment complex may be comprised of two hundred (200) individual
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residences, yet have a common mailroom which contains four (4) panel units; with each
containing fifty (50) individual mailboxes. The purpose of the consolidated delivery units is to
expedite service and minimize costs, as a USPS letter carrier is able to make a single stop rather

than deliver to each residence individually.

06. These consolidated USPS mail receptacles are designed so that employees are required to
access only a single locking mechanism in order to open the entire ‘panel’; allowing access to
each of the individual mail receptacles within the unit, whether it were thirty (30) or two hundred
(200) as in the examples above. Once the mail is delivered and the panel locked, customers have
to use their individual unit keys to access their mail; which in design, should ensure the privacy
and security of the individual consumers. These master locks, commonly referred to as ‘Arrow
Locks’, are designed and manufactured such that a given city or perhaps zip code range, has a
unique lock assigned to that area. Conversely, that means that the same key will open all of the
master locks within that geographic area. For example, all USPS master locks in the Austin area
are of a common design and may be accessed by the same master key. However, that key will
not allow access to locks in another area, such as Dallas or San Antonio. As such, the USPS
designates these master keys, often referred to as ‘Arrow Keys’, as accountable property. The
USPS has implemented extensive security measures governing the possession and use of Arrow
Locks and Arrow Keys. Within the USPS, Arrow Keys have to be signed out each day by
employees and returned at the close of their tour of duty. The keys are engraved as USPS
property, with a unique serial number. Regulations require that the loss or theft of an Arrow Key

requires a corresponding entry into the National Crime Information Center (NCIC).

07. Based on my training and experience in other mail theft and fraud investigations, I know
that criminal organizations engaged in widespread financial fraud seek to obtain Arrow Keys for
a variety of reasons. I know that criminal organizations recognize that illegally obtaining an
Arrow Key will allow them to access hundreds, or perhaps thousands, of mail receptacles within
a given metropolitan area. In doing so, criminal organizations can conduct large scale volume
attacks to steal specific items, such as outgoing personal checks; which they illegally alter and
negotiate at substantial profit. Based on my training and experience, I know that in another

variation, criminal elements will engage in a more targeted scheme in which they steal an
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individual’s identity; conduct various fraudulent financial transactions, such as a filing a tax
return resulting in a refund; and use the Arrow Key to recover the resulting tax refund check
once it is mailed to the unwitting victim. As the check is mailed to the victim’s known address,
IRS internal controls often do not detect the fraud. Since the offenders are able to use the Arrow
Key recover the check without alerting the victim, the victims often have no knowledge that their
identity has been compromised until they attempt to file their own taxes or are contacted by a

debt collection agency.

08. Based on my training and experience in other fraud investigations, I know that criminal
elements will undertake significant steps to gain access to Arrow Keys. I know that USPS
employees occasionally lose keys in the performance of their duties; however, these occurrences
are generally documented and the keys entered into NCIC. In recent years, I know that the
exponential increase in Stolen Identity Refund Fraud (SIRF) has caused criminal organizations to
go to greater lengths to obtain the keys due to the huge illicit proceeds derived from the
fraudulent tax returns. I know that within the last five (5) years, the number of USPS employees
assaulted and murdered in order to obtain Arrow Keys has increased dramatically. I know that
USPS vehicles and facilities have been burglarized to access the keys. I know that criminal
offenders will criminally manufacture or ‘counterfeit’ the key design in an attempt to produce a
working Arrow Key. I know that if successful, these keys are very valuable and are greatly

coveted within criminal organizations.

PROBABLE CAUSE
09. In August 2016, I was contacted by employees of the USPS Bluebonnet Station in
Austin, Texas. I learned that employees had recently documented several instances in which the
mail delivery panels located at Twenty 15 Apartments, located at 2015 Cedar Bend Drive,
Austin, Texas 78758 were unsecured. USPS personnel confirmed the panels were secured after
delivery, only to be found unsecured the next day. I responded to the location and noted the
panels showed no visible signs of attack, such as prying. Based on my training and experience, I
knew that these characteristics were indicative of the use of an Arrow Key by unauthorized

persons. I knew based on previous investigations that criminal offenders with official or
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counterfeit Arrow Keys are often able to open the panels, but lack the knowledge and time

necessary to properly close and secure the panels.

10. On August 19, 2016, I contacted the management of the Twenty 15 Apartments to
discuss the unsecured panels. I learned that the facility, like many throughout the greater Austin
metropolitan area, had placed one or more video surveillance cameras in and around the
mailroom. These cameras, which are generally overt and clearly posted, are a direct response to
the constant attacks against consolidated mail receptacles. I subsequently obtained the video
recordings for the previous week. I reviewed the footage and observed a male subject, later
identified as David A. Afenkhena, as he entered the mailroom; inserted a key into the Arrow
Locks securing the panels; and opened the panels. Although the panels contained many
individual mailboxes, I noted Afenkhena appeared to target only specific units. In other words,
he only took select pieces of mail for specific apartment boxes. I observed that Afenkhena
generally targeted the panels within one to two (2) hours of the delivery of the mail by the USPS
Letter Carrier. I noted Afenkhena opened the panels during business hours and was generally in
and out of the mailroom within one minute or less. I observed that in the majority of the

instances, Afenkhena appeared hurried and failed to fully secure the panel before exiting.

11. ‘In reviewing the video recordings, I noted that Afenkhena clearly inserted what appeared
to be an official USPS Arrow Key into the panel master locks. I noted the Arrow Key was
contained on a key ring with a number of other keys as well. I knew that the possession and
unauthorized use of an official or counterfeit Arrow Key was a criminal offense. I knew that
Afenkhena’s selective thefts were indicative of financial fraud, as described above. I verified
that the individual captured on the video recordings was not a USPS employee or authorized to
be in possession of the Arrow Key. I verified that the individual captured on the video was not

known by the staff of the apartment complex or authorized to access the mailroom.

12. On August 22, 2016, Inspector C. E. King and I established covert surveillance outside
the mailroom located at 2015 Cedar Bend Drive, Austin, Texas 78758. At approximately 1640,
we observed a black Toyota Avalon bearing license CY2S086 park adjacent to the mailroom. I

reviewed available Texas Department of Public Safety (DPS) records and determined the vehicle
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was registered to Sarah Afenkhena, 12345 Lamplight Village, Austin, Texas 78758. I observed a
black male subject, later identified as David A. Afenkhena, exit the vehicle and enter the
mailroom. I immediately recognized Afenkhena as the subject I observed on the various video
recordings illegally accessing the mail panels the previous week. Within one minute, Afenkhena
exited the mailroom and returned to his vehicle. I confirmed with apartment staff that

Afenkhena had once again accessed the panels using the Arrow Lock.

13. Inspector King and I approached Afenkhena after he entered his vehicle. We identified
ourselves as federal law enforcement officers and advised Afenkhena we were conducting a mail
theft investigation at the complex. Afenkhena denied entering the mailroom on any occasion. I
noted Afenkhena’s keys were visible hanging from the vehicle’s ignition. I could clearly see the
distinctive design and emblem of an official USPS Arrow Key among the keys. I directed
Afenkhena to exit the vehicle. I recovered the keys and verified that the ring contained an
official USPS Arrow Key, clearly engraved as USPS property. I noted that the key’s serial
number had been obliterated; making it virtually impossible to identify where the key was

obtained.

14. IT advised Afenkhena that he was not under arrest. I detailed the investigation to date, to
include his use of the Arrow Key; the stolen U. S. Mail; and the corresponding video recordings.
Afenkhena advised he wished to cooperate in the investigation but denied any knowledge of the
mail theft. Afenkhena advised he found the key on the ground the day before and denied ever
using it. I knew this was contradicted by his repeated use captured on video the previous week.
Afenkhena denied accessing the panels or taking any mail. Afenkhena had no identification.
Afenkhena advised he was Nigerian, but emphasized he was a naturalized U. S. citizen. When
asked where he lived, Afenkhena provided me with a different address on at least three (3)

occasions.

15. I could clearly observe various pieces of U. S. Mail strewn about the vehicle. I observed
several printed sheets of paper which were inscribed with various names and addresses in the
area. I noted one or more of the addresses corresponded to the mailboxes I observed Afenkhena

access during the video recordings. Afenkhena denied any knowledge as to the origin or purpose
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of the printed names and addresses. Based on my training and experience, I knew that the
printed lists were indicative of financial fraud, in which offenders utilize Arrow Keys to
routinely check specific apartment boxes for incoming financial instruments, such as refund

checks.

16. | advised Afenkhena that he was under arrest for unlawful possession of the Arrow Key,
as well as the theft of U. S. Mail. Afenkhena was taken into custody without incident. I advised
Afenkhena of his rights as per Miranda. Afenkhena continually expressed his desire to cooperate
in the investigation but denied any knowledge of the Arrow Key or the theft of U. S. Mail. A
search of Afenkhena’s person did not result in the recovery of any additional contraband.
Afenkhena originally stated he and his wife switched vehicles just before he arrived at the
complex and that he had no knowledge of the items contained in the vehicle. I advised
Afenkhena that I had observed him operating the same vehicle on each of the video recordings
captured the previous week. Afenkhena recanted and acknowledged he alone owned and
operated the vehicle. Afenkhena emphasized that any items recovered from the vehicle belonged

to him and not his wife.

17. The vehicle was searched incident to arrest. Agents recovered a cellular telephone and
laptop computer. The computer case itself contained stolen U. S. Mail and various financial
documents in other people’s names. Agents noted U. S. Mail was located throughout the
vehicle. The mail was contained in the glove box; center console; seatbacks; and trunk. Agents
recovered more than thirty (30) pieces of U. S. Mail, each addressed to various persons within
the Austin area. I noted several of the pieces matched the addresses listed on the printed sheets
of paper. I observed that the vast majority of the recovered mail was financial in nature and
contained various PII. I noted at least eight (8) pieces of financial mail which bore handwritten
inscriptions of various social security numbers and dates of birth. A cursory review of available
law enforcement records indicated the handwritten PII corresponded to the listed addressee on
the mail piece. I noted the financial documents included more than a dozen pieces of
correspondence between the listed addressees and the IRS; some referencing actual or attempted
refund submissions. I observed one or more instances in which the IRS documents included

handwritten inscriptions of PII and Personal Identification Numbers (PINs). I knew based on
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training and experience that the documentation of the PIN among the IRS documentation was
indicative of the use of electronic filing methods; commonly exploited in SIRF schemes. From
the center console I recovered a U. S. Treasury check, in the amount of $2,236, dated July 29,
2016, addressed to another person. While the specific name and apartment unit were not
immediately observed on the recovered lists, I noted the address of the apartment complex itself
was on one or more of the printed lists. Further, the recovered Arrow Key would have accessed

the corresponding USPS panel at the complex, as well as all of the apartment addresses

Witter Witt

U.S. Postal Inspector

contained on the printed lists.

AP
Subscribed and sworn before me in Austin, Texas, on this Z3 day of August, 2016.

UNITED STATKS MAGISTRATE JUDGE
WESTERN RICT OF TEXAS
